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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- X
DIANE HARRELL, Individually and as                                :   15 Civ. 7065 (RA)
Administratrix of the Estate of Samuel D.                         :
Harrell, III, Deceased,                                           :   STIPULATION, ORDER AND
                                                                  :   JUDGMENT OF DISMISSAL
                                             Plaintiff,           :   PURSUANT TO FRCP 41(a)(2)
                                                                  :
                           - against -                            :
                                                                  :
JOSEPH GUARINO, DOCCS Corrections                                 :
Sergeant, in his Individual Capacity, et al.,                     :
                                                                  :
                                             Defendants.          :
----------------------------------------------------------------- X

          IT IS HEREBY STIPULATED AND AGREED by and between the undersigned Plaintiff,

Diane Harrell, Individually and as Administratix of the Estate of Samuel D. Harrell, III, Deceased,

and the attorneys for Plaintiff and Defendants, parties to the above-entitled action, that whereas no

party hereto is an infant or incompetent person, and no person not a party has an interest in the

subject matter of the action;

          Pursuant to Federal Rule of Civil Procedure 41(a) (2), Plaintiff hereby stipulates and agrees

that, upon the Court's order, all claims against defendants Maura Endrizzi, Jason Laughman,1

Maria Zaprowski, Alan Washer, John Carreras, Joseph Guarino, Terry Shultis, Thomas Dickinson,

Bryan Eull, Paul Harrington, Benjamin Mathew, Mario Morel, Robert Michels, Rutger Rivera,

John Rolle, Tim Salerno, Chris Sherman, Justin Sorenson, John Yager, Frederick Belanger,

Shawna Healy, Margaret Berry, Seleste Wallace, Marianne Sarvis, and Shirley Roberts, in the

above-captioned action, shall be and are hereby dismissed with prejudice, without costs, expenses

or fees against any party;

          Plaintiff discharges and releases Defendants, the New York State Department of

Corrections and Community Supervision, including its officers, agents and employees, and the


1
    Nurse Laughman is sued in this action as “Laufman.”
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State of New York, including its agencies, subdivisions, officers, agents and employees, of any

and all claims, demands, or causes of actions, known or unknown, now existing or hereafter

arising, which relate in any way to the subject matter of this action;

        The parties hereby stipulate and agree that the signatures appearing below will be deemed

to be originals.

        After due deliberation, the Court HEREBY ORDERS, DECREES AND ADJUDGES that

all of the claims asserted against defendants Maura Endrizzi, Jason Laughman, Maria Zaprowski,

Alan Washer, John Carreras, Joseph Guarino, Terry Shultis, Thomas Dickinson, Bryan Eull,

Paul Harrington, Benjamin Mathew, Mario Morel, Robert Michels, Rutger Rivera, John Rolle,

Tim Salerno, Chris Sherman, Justin Sorenson, John Yager, Frederick Belanger, Shawna Healy,

Margaret Berry, Seleste Wallace, Marianne Sarvis, and Shirley Roberts, in the above captioned

case, shall be, and are hereby dismissed in their entirety, with prejudice.




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Dated: New York, New York
       November ____, 2020

                                                      LETITIA JAMES
                                                      Attorney General
                                                      State of New York
                                                      Attorney for Defendants
                                                      28 Liberty Street, 18th Floor
                                                      New York, New York 10005
                                                      (212) 416-6295


                                                      By:
                                                             Maria B. Hartofilis

Dated: New York, New York
       November___, 2020

                                                      BELDOCK LEVINE & HOFFMAN LLP
                                                      Attorneys for Plaintiff
                                                      99 Park Avenue
                                                      PH/26th Fl.
                                                      New York, New York 10016
                                                      (212) 277-5875


                                                      By:
                                                             Luna Droubi

Dated: __________, New York
       November___, 2020


                                                      Diane Harrell,
                                                      Individually and as Administratix of
                                                      the Estate of Samuel D. Harrell, III, Deceased
                                                      Plaintiff

                                  ACKNOWLEDGMENT

               On the _____ day of November, 2020, before me came_____________________,
known to me or proved to me on the basis of satisfactory evidence to be the person whose name is
subscribed on the within instrument, and acknowledged to me that he executed the same.


                                                      ________________________
                                                      Notary Public!



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          Kingston
          ----------- 2
           December




                                        December
                          2nd          ------------            Diane Harrell




Luna Droubi
Notary Public, State of New York
No. 02DR6322468
Qualified in New York County
Commission Expires April 6, 2023
By video pursuant to Executive Order 202.7
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SO ORDERED:
                                    SO ORDERED. The conference scheduled for December
Dated: New York, New York           11, 2020 is adjourned. The Clerk of Court is respectfully
       November ____, 2020          directed to close this case.




________________________________              ____________________________
HON. RONNIE ABRAMS, U.S.D.J.                  Hon. Ronnie Abrams
                                              12/7/2020




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